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     16
                           UNITED STATES DISTRICT COURT
     17                   CENTRAL DISTRICT OF CALIFORNIA
     18                         WESTERN DIVISION
     19 MAYANNA BERRIN, individually, ) Case No.: 2:23-cv-04150-MEMF-MRWx
     20 and on behalf of all others similarly ) DEFENDANT DELTA AIR LINES,
        situated,                             ) INC.’S NOTICE OF MOTION AND
     21                                       ) MOTION TO DISMISS;
     22                   Plaintiff,          ) MEMORANDUM OF POINTS AND
        v.                                    ) AUTHORITIES
     23                                       )
     24 DELTA AIR LINES, INC.                 ) Hearing: November 30, 2023; 10:00
                                              ) AM
     25                   Defendant.          ) The Honorable Maame Ewusi-Mensah
     26                                       ) Frimpong
                                              ) [Proposed] Order submitted herewith
     27
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      1         TO ALL PARTIES AND THEIR COUNSEL OF RECORD:
      2         PLEASE TAKE NOTICE that on Thursday, November 30, 2023 at 10:00
      3 AM, or as soon thereafter as the matter may be heard, Defendant Delta Air Lines,
      4 Inc. (“Delta”) will bring for hearing before the Honorable Maame Ewusi-Mensah
      5 Frimpong, United States District Court Judge, in Courtroom 8b located on the 8th
      6 floor of the United States Courthouse, 350 West First Street, Los Angeles, California
      7 90012, a Motion to Dismiss the First Amended Complaint (“FAC”) of Plaintiff
      8 Mayanna Berrin under Rule 12(b)(6) of the Federal Rules of Civil Procedure.
      9         Specifically, this Motion is made upon the grounds that Plaintiff has not and
     10 cannot state a claim upon which relief can be granted because: (a) all causes of
     11 action in the FAC are preempted by the Airline Deregulation Act (“ADA’s”), 49
     12 U.S.C. § 41713(b)(1); (b) Plaintiff is not entitled to the equitable relief she seeks
     13 under California’s Unfair Competition Law (“UCL”), Cal. Bus. & Prof. Code
     14 § 17200, et seq. and False Advertising Law (“FAL”), Cal. Bus. & Prof. Code
     15 § 17500, et seq., because she has failed to allege the absence of an adequate remedy
     16 at law; (c) Plaintiff’s claims under Cal. Civ. Code § 1770(a)(2) and (a)(3) are not
     17 supported by any of the facts alleged in the FAC; and (d) Plaintiff lacks Article III
     18 standing to seek future injunctive relief.
     19         This motion is based on this Notice of Motion and Motion, the Memorandum
     20 of Points and Authorities submitted herewith, the pleadings, papers, and records on
     21 file in this case, and such oral argument as may be presented at any hearing.
     22         This motion is made following the conference of counsel pursuant to L.R. 7-
     23 3, which took place on August 9, 2023.
     24 DATED: August 18, 2023                        KING & SPALDING LLP
     25
     26                                         By:   /s/ Michael D. Roth
                                                      Michael D. Roth
     27                                               Attorney for Defendant
     28
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      1                MEMORANDUM OF POINTS AND AUTHORITIES
      2 I.      INTRODUCTION
      3         Plaintiff’s claims are preempted by the Airline Deregulation Act (“ADA”).
      4 Plaintiff’s First Amended Complaint (Dkt. 19, “FAC”) alleges violations of
      5 California’s Consumer Legal Remedies Act (“CLRA”), Cal. Civ. Code §§ 1750, et
      6 seq.; False Advertising Law (“FAL”), Cal. Bus. & Prof. Code § 17500, et seq.; and
      7 Unfair Competition Law (“UCL”), Cal. Bus. & Prof. Code § 17200, et seq. based on
      8 the manner in which Delta advertised the environmental impact of its airline
      9 services—i.e., as carbon neutral due to Delta’s participation in the voluntary carbon
     10 offset market. Plaintiff alleges these representations caused her to pay higher fares
     11 and Delta to obtain “undeserved market share.” FAC ¶¶ 1, 8-9. These claims fall
     12 squarely within the broad preemptive bar of the ADA, 49 U.S.C. § 41713(b)(1),
     13 which prevents states from enforcing any law that relates to an airline’s rates, routes,
     14 or services. This fundamental problem is not curable. Accordingly, as a matter of
     15 law, the Complaint should be dismissed with prejudice.
     16         Indeed, the United States Supreme Court has identified the types of claims
     17 alleged here as having the inherent “potential for intrusive regulation of airline
     18 business practices.” American Airlines v. Wolens, 513 U.S. 219, 227 (1995); see also
     19 In re Korean Air Lines Co., Ltd. Antitrust Litig., 567 F. Supp. 2d 1213, 1221 (C.D.
     20 Cal. 2008) (explaining that state consumer protection statutes, “such as those at issue
     21 here, serve to regulate competition and are precisely what the ADA’s preemption
     22 clause was designed to prevent”), aff’d in relevant part 642 F.3d 685, 697 (9th Cir.
     23 2011).
     24         The allegations underpinning Plaintiff’s claims relate to Delta’s rates and
     25 services. Plaintiff alleges that Delta made the challenged representations with the
     26 intent to encourage air travel on Delta, that Delta gained undeserved market share as
     27 a result, and that Plaintiff would not have paid the same amount for her air travel
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      1 knowing that Delta’s representations regarding carbon neutrality were allegedly
      2 false. These allegations establish a clear connection to Delta’s rates. Moreover, the
      3 fundamental service Delta provides is air transportation. Plaintiff alleges that the
      4 environmental impact of air travel is important to consumers and thus part of the
      5 bargained-for exchange between an airline and its customers. These allegations cut
      6 to the core of the purpose of the ADA, i.e., to spur competitive market forces by
      7 deregulating the airline industry and preventing a patchwork of regulations
      8 burdensome to both airline passengers and airlines. The ADA’s preemption
      9 provision thus squarely applies to Plaintiff’s claims.
     10        Even beyond this fatal and non-amendable flaw, Plaintiff’s claims suffer
     11 additional defects. First, Plaintiff’s FAL and UCL claims, which are equitable in
     12 nature, fail because Plaintiff cannot allege that she lacks an adequate remedy at law.
     13 Indeed, Plaintiff has alleged a CLRA claim, which is legal in nature, and offered no
     14 allegation why the remedies available under the CLRA would be inadequate. Next,
     15 Plaintiff’s CLRA claim should be dismissed in part because the FAC provides no
     16 factual basis to support certain of the statutory provisions upon which the CLRA
     17 claim relies. Lastly, Plaintiff’s claims for injunctive relief under any of the statutes
     18 should be dismissed because Plaintiff lacks standing to pursue these claims, since
     19 she does not allege any intent to purchase Delta flights in the future or that there is
     20 any risk of future harm at all.
     21        For these reasons, this Motion should be granted and the FAC dismissed with
     22 prejudice.
     23 II.    FACTUAL AND PROCEDURAL BACKGROUND
     24        Plaintiff filed her initial Complaint on May 30, 2023. See Dkt. 1. Plaintiff
     25 asserted claims against Delta under the CLRA, FAL, and UCL based on the
     26 allegation that Delta misrepresented the total environmental impact of its business
     27 operations in advertisements and promotional materials, “thereby attaining
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       1 undeserved market share and extracting higher prices from consumers.” Compl. ¶ 1.
       2 Plaintiff also alleged that she “paid a substantial price premium,” id. ¶ 16, and that
       3 she and the putative class had “lost the price premium they paid for the Delta flights
       4 based on Defendant’s false ‘carbon neutral’ representations,” id. ¶ 107. Pursuant to
       5 L.R. 7-3, Delta informed Plaintiff of its intent to move to dismiss Plaintiff’s
       6 Complaint because her claims are preempted under the ADA. The parties held a
       7 telephonic meet and confer on July 10, 2023.
       8         Plaintiff filed her FAC on July 19, 2023. Although Plaintiff’s FAC eliminates
       9 all express references to “price premiums,” the FAC’s allegations still clearly
      10 implicate Delta’s rates and services. Specifically, Plaintiff alleges that she purchased
      11 multiple Delta flights since March 2020. See FAC ¶ 13. Plaintiff states that she
      12 viewed advertisements, LinkedIn posts, and business reporting where Delta “touted
      13 [itself] as a carbon neutral airline,” id. ¶ 14, and that these representations “were part
      14 of the basis of the bargain, in that she would not have purchased said flights on the
      15 same terms had she known those representations were not true,” id. ¶ 15. She also
      16 alleges that Delta misrepresented its carbon neutral status “to control a greater
      17 market share.” Id. ¶ 92; see also id. ¶ 1 (alleging Delta has attained “underserved
      18 market share from environmentally concerned consumers”).
      19         Plaintiff claims that after she purchased her Delta flights, she “discovered that
      20 any such representations” related to Delta’s carbon neutral status “are manifestly and
      21 provably false.” Id. ¶ 6. She claims that “rather than achieving carbon neutrality
      22 through sustainable fuels and carbon removals,” Delta has “instead premised their
      23 carbon neutrality on the purchase of carbon offsets from the voluntary carbon
      24 market.” Id. ¶ 46. Plaintiff claims that “foundational issues with the voluntary carbon
      25 offset market mean the purchase of said offsets cannot make a company ‘carbon
      26 neutral.’” Id. According to Plaintiff, “[n]early all offsets issued by the voluntary
      27 carbon offset market overpromise and underdeliver on their total carbon impact due
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       1 to endemic methodological errors and fraudulent account on behalf of offset
       2 vendors[.]” Id.
       3        Plaintiff alleges that had she been adequately informed, she “would have acted
       4 differently by, without limitation, refraining from purchasing Delta flights, or paying
       5 less for them.” Id. ¶ 91; see also id. ¶ 101 (alleging that she would have acted
       6 differently by “(i) declining to purchase Delta flights, or (ii) purchasing flights from
       7 another airline”). Plaintiff seeks to represent a purported nationwide class, requests
       8 declaratory and injunctive relief from Delta’s allegedly deceptive practices, and
       9 seeks damages in the form of “all monies” acquired by Delta as a result of its
      10 allegedly misleading and deceptive advertising and marketing practices. Id. ¶¶ 85,
      11 94, 95.
      12        The parties held a meet and confer on August 9, 2023, pursuant to L.R. 7-3,
      13 at which time Delta informed Plaintiff that her claims remain barred by the ADA
      14 and suffer additional defects. Plaintiff stated her intent to move forward with the
      15 FAC.
      16 III.   DELTA’S MOTION TO DISMISS SHOULD BE GRANTED
                BECAUSE THE ALLEGATIONS IN THE COMPLAINT ARE
      17
                PREEMPTED BY THE AIRLINE DEREGULATION ACT AND FAIL
      18        TO STATE A CLAIM
      19        To survive a motion to dismiss under Federal Rule of Civil Procedure
      20 12(b)(6), a plaintiff must allege “enough facts to state a claim to relief that is
      21 plausible on its face.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007). A claim
      22 has “facial plausibility” if the plaintiff pleads facts that “allow[ ] the court to draw
      23 the reasonable inference that the defendant is liable for the misconduct alleged.”
      24 Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009).
      25        In resolving a Rule 12(b)(6) motion, a court must accept all well-pleaded
      26 factual allegations as true, but “[t]hreadbare recitals of the elements of a cause of
      27 action, supported by mere conclusory statements, do not suffice.” Id. at 678. That is,
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       1 a pleading must set forth allegations that have “factual content that allows the court
       2 to draw the reasonable inference that the defendant is liable for the misconduct
       3 alleged.” Id. Courts “are not bound to accept as true a legal conclusion couched as a
       4 factual allegation.” Id. (internal quotation marks omitted) (quoting Twombly, 550
       5 U.S. at 555). Assuming the veracity of well-pleaded factual allegations, a court next
       6 must “determine whether they plausibly give rise to an entitlement to relief.” Id. at
       7 679. There is no plausibility “where the well-pleaded facts do not permit the court
       8 to infer more than the mere possibility of misconduct.” Id.
       9        In dismissing a complaint, courts need not grant leave to amend where, as
      10 here, it would be futile. See Steckman v. Hart Brewing, Inc., 143 F.3d 1293, 1298
      11 (9th Cir. 1998).
      12        A.     Plaintiff’s Claims are Preempted by the Airline Deregulation Act
      13        The ADA is designed to spur competitive market forces by largely
      14 deregulating the airline industry. Morales v. Trans World Airlines, Inc., 504 U.S.
      15 374, 378 (1992) (citing 49 U.S.C. §§ 1302(a)(4), 1302(a)(9)). To further this policy
      16 goal, Congress included an express preemption provision in the ADA. That
      17 provision prohibits a state from enacting or enforcing “a law, regulation, or other
      18 provision having the force and effect of law related to a price, route, or service of an
      19 air carrier that may provide air transportation under this subpart.” 49 U.S.C.
      20 § 41713(b)(1). This language reflects Congress’s “broad pre-emptive purpose” and
      21 preempts “actions having a connection with or reference to airline ‘rates, routes, or
      22 services.’” Morales, 504 U.S at 383-84. The Supreme Court has recognized that the
      23 ADA’s preemption clause is both “deliberately expansive” and “conspicuous for its
      24 breadth.” Id. at 383-84.
      25        In Morales—the Supreme Court’s first ADA preemption case—a group of
      26 state attorneys-general sent a memorandum to several airlines setting forth
      27 “Guidelines” for the manner in which airlines could advertise their fees and services
      28
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       1 to avoid liability under state consumer protection laws. Morales, 504 U.S. at 378-
       2 79. The Supreme Court held that the ADA’s preemption provision applied to state
       3 regulations applicable to fare advertisements. The Court explained that “relating to”
       4 in the preemption provision is defined “broad[ly]” to mean “to stand in some
       5 relation; to have bearing or concern; to pertain; refer; to bring into association with
       6 or connection with.” Id. at 383. The Court held that the ADA preempted the states’
       7 attempt to regulate the airlines’ advertisements because the Guidelines “quite
       8 obviously” relate to “fares.” Id. at 387–88 (explaining that “collectively, the
       9 guidelines establish binding requirements as to how tickets may be marketed if they
      10 are to be sold at given prices”).
      11        Subsequently, in American Airlines v. Wolens, 513 U.S. 219 (1995), members
      12 of American Airlines’ frequent flyer program brought a class action under various
      13 consumer protection statutes challenging a retroactive change in the program’s
      14 terms. The Supreme Court found that plaintiffs’ claims were an impermissible
      15 attempt to “guide and police the marketing practices” of the airline. Id. at 227-228;
      16 see also id. (explaining that state consumer protection claims have the inherent
      17 “potential for intrusive regulation of airline business practices”). The Court further
      18 emphasized that “the selection and design of marketing mechanisms appropriate to
      19 the furnishing of air transportation services” should be left “largely to the airlines
      20 themselves.” Id. at 228. According to the Court, Congress included the ADA’s
      21 preemption provision to ensure that state law would not thwart Congress’s intent to
      22 leave the bargained-for aspects of the air carrier-air passenger relationship to the
      23 workings of the market. See id. at 229 n.5 (noting that preemption provision
      24 prevented states from “impos[ing] their own public policies or theories of
      25 competition or regulation on the operations of an air carrier” (internal citations and
      26 quotation marks omitted)).
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       1        Following its decisions in Morales and Wolens, the Supreme Court reiterated
       2 that the preemptive effect of the ADA is sufficiently broad to encompass even those
       3 state laws that only indirectly impact air carrier prices, routes, or services. See Rowe
       4 v. N.H. Motor Transp. Ass’n, 552 U.S. 364, 370 (2008) (“[P]re-emption may occur
       5 even if a state law’s effect on rates, routes, or services ‘is only indirect.’” (quoting
       6 Morales, 504 U.S. at 386)). This broad application of the ADA’s preemption
       7 provision serves Congress’s purpose of safeguarding against the creation of a
       8 confusing “patchwork” of regulations burdensome to both airline passengers and
       9 airlines. Rowe, 552 U.S. at 373 (2008).
      10        Following the direction of the Supreme Court, courts in the Ninth Circuit
      11 regularly apply ADA preemption to claims related to an airline’s marketing of its
      12 services. See e.g., Alaska Airlines, Inc. v. Carey, No. C07-5711 RBL, 2008 WL
      13 2725796, at *4 (W.D. Wash. July 11, 2008) (“The ADA preempts any attempt to use
      14 state substantive law as a means to guide and police the marketing practices of the
      15 airlines[.]”), aff’d 395 F. App’x 476, 478 (9th Cir. 2010); McGarry v. Delta Air
      16 Lines, Inc., No. CV 18-9827-MWF (EX), 2019 WL 2558199, at *4 (C.D. Cal. June
      17 18, 2019) (“Together, Morales, Wolens, Northwest, and National Federation hold
      18 that the broad scope of ADA preemption sweeps claims as broad as those related to
      19 state consumer protection statutes, frequent flyer programs, common law covenants,
      20 and advertising guidelines[.]”); Pica v. Delta Air Lines, Inc., No. CV 18-2876-MWF
      21 (EX), 2018 WL 5861362, at *7 (C.D. Cal. Sept. 18, 2018) (“[C]onsistent with
      22 Wolens and numerous other cases, the Court has little difficulty in concluding that
      23 the ADA likewise preempts Plaintiffs’ UCL claims.”); In re United Parcel Serv.,
      24 Inc., No. 10 MDL 2153, 2011 WL 13220232, at *6 (C.D. Cal. July 28, 2011) (“The
      25 ADA preempts general state consumer fraud statutes.”), vacated on other grounds
      26 580 F. App’x 543 (9th Cir. 2014).
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       1        Because Plaintiff’s claims here “derive from the enactment or enforcement of
       2 state law” and expressly relate to Delta’s “rates” and “services,” they are preempted
       3 by the ADA. See A.C.L. Computers & Software, Inc. v. Fed. Express Corp., No. 15-
       4 CV-04202-HSG, 2016 WL 946127, at *2 (N.D. Cal. Mar. 14, 2016) (ADA
       5 preemption applies where “the action [] (1) derive[s] from the enactment or
       6 enforcement of state law and (2) ‘relate[s] to’ airline rates, routes, or services”).
       7               i.     Plaintiff’s Claims Relate to Delta’s Rates.
       8        Despite attempts to eliminate conspicuous references to “prices,” Plaintiff’s
       9 claims in the FAC still inextricably relate to Delta’s rates. Although she has excised
      10 the “price premium” terminology, Plaintiff still alleges that she relied on Delta’s
      11 carbon neutral status in deciding to “purchase her flights with Defendant.” FAC ¶
      12 15. She also contends that she would have “paid substantially less for [her flights],
      13 had [she] known the claim of carbon neutrality was false.” Id. ¶ 8. She further alleges
      14 that had she been adequately informed, she “would have acted differently by,
      15 without limitation, refraining from purchasing Delta flights, or paying less for
      16 them.” Id. ¶ 91 (emphasis added). Based on those allegations, Plaintiff claims she
      17 has “lost money” and seeks “legal redress in order to recover monies paid to
      18 Defendant.” Id. ¶¶ 105, 109. Thus, Plaintiff’s allegations expressly relate to Delta’s
      19 prices and alleged premiums Delta collected on those prices based on its carbon
      20 neutrality statements.
      21        Price premiums for airline offerings fall squarely within the ADA’s
      22 preemptive bar. See, e.g., Vail v. Pan Am Corp., 616 A.2d 523 (N.J. App. Div. 1992).
      23 In Vail, an airline advertised an enhanced security program and charged passengers
      24 a premium to defray the costs of the program. The plaintiffs claimed that the airline
      25 did not provide such a program and was therefore falsely advertising enhanced
      26 security on flights. Plaintiffs brought state-law claims for willful misrepresentation,
      27 consumer fraud, and deceptive business practices. The court dismissed the consumer
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       1 fraud claims on ADA preemption grounds, holding that “Plaintiffs’ claims quite
       2 obviously relat[e] to airline fares.” Id. at 526 (cleaned up). The court explained that
       3 the price premium charged to passengers for the security system “at the very least,
       4 indirectly relates to the ‘rates’ charged by an air carrier.” Id. This comports with the
       5 Supreme Court’s directive in Morales that a state law may “relate to” airline rates,
       6 routes, or services “even if the law is not specifically designed to affect such [rates,
       7 routes, or services], or the effect is only indirect.” Morales, 504 U.S. at 386. As in
       8 Vail, Plaintiff contends that she paid a price premium based on Delta’s
       9 representations regarding carbon neutrality. Because Plaintiff’s claims relate to
      10 Delta’s prices, they are preempted by the ADA.
      11         Indeed, the very nature of Plaintiff’s claims compels this conclusion. To
      12 prevail on her UCL or FAL claims, Plaintiff must allege she suffered an economic
      13 injury and has “lost money or property” as a result of a defendant’s alleged conduct.
      14 See Tabler v. Panera LLC, No. 19-CV-01646-LHK, 2019 WL 5579529, at *9 (N.D.
      15 Cal. Oct. 29, 2019) (cleaned up); See also Kwikset Corp. v. Super. Ct., 246 P.3d 877,
      16 885 (Cal. 2011). Likewise, to recover money damages for her CLRA claim, Plaintiff
      17 must allege that she suffered actual damages as well as “facts showing that [] she
      18 suffered an economic injury caused by the alleged violation.” Shaouli v. Saks Fifth
      19 Ave., No. CV 14-09590-AB (JCX), 2015 WL 13917124, at *6 (C.D. Cal. Apr. 2,
      20 2015) (internal citations and quotation marks omitted). Here, the only economic
      21 injury that Plaintiff could possibly assert relates to the price of her flights. Plaintiff
      22 accordingly cannot avoid the preemptive bar of the ADA and also have standing to
      23 assert claims for monetary relief under the CLRA, FAL and UCL based on her
      24 allegations regarding Delta’s carbon neutrality representations.
      25                ii.   Plaintiff’s Allegations Regarding “Market Share” Reinforce
                              that the ADA Applies.
      26
      27         In an attempt to avoid the obvious connection between Plaintiff’s allegations

      28 and Delta’s rates, the FAC eliminates the word “prices” and instead recasts
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       1 Plaintiff’s claims as related to Delta’s desire to gain “undeserved market share”
       2 through encouraging air travel on Delta by environmentally concerned consumers.
       3 See FAC ¶¶ 1, 45, 92. But Plaintiff’s complaint regarding Delta’s ability to gain
       4 market share through its carbon neutral marketing is simply an attempt to regulate
       5 pricing under a different name. Market gains are based on revenue; Plaintiff’s
       6 allegations thus necessarily implicate the competitive market forces the ADA was
       7 designed to protect. See Wolens, 513 U.S. at 229 n.5 (explaining that the ADA was
       8 enacted to prevent states from imposing “their own public policies or theories of
       9 competition or regulation on the operations of an air carrier”); see also Ginsberg,
      10 572 U.S. at 280 (noting Congress enacted the ADA to promote “maximum reliance
      11 on competitive market forces and on actual and potential competition” in the airline
      12 industry).
      13        Plaintiff contends that one of the central questions in this case is “whether the
      14 advertising of Delta Airlines [sic] as being carbon neutral caused them to command
      15 a higher market share,” i.e., more consumers purchase Delta flights because of
      16 Delta’s advertisements. See FAC ¶ 77. And Plaintiff aims to use state law to regulate
      17 Delta’s marketing of its services, which, in turn, would regulate the market forces
      18 that drive competition. In fact, Plaintiff specifically asserts that the environmental
      19 impact of a company’s operations “has a significant impact on [consumers]
      20 purchasing decisions,” and, therefore, companies like Delta advertise environmental
      21 initiatives with an “interest of maintaining consumer loyalty and maintaining market
      22 position.” FAC ¶¶ 24, 26. This is the very essence of competition.
      23        Simply put, Plaintiff’s claims relate to how Delta competes for the business
      24 of environmentally conscious air travelers and the prices it is able to command based
      25 on representations regarding the environmental impact of its services. Permitting
      26 these claims to proceed conflicts with the primary purpose of the ADA’s preemptive
      27 bar and would lead to precisely the regulatory patchwork Congress sought to avoid
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       1 and that the Supreme Court cautioned against in Rowe. 552 U.S. at 373. For these
       2 reasons, Plaintiff’s allegations regarding the increased price she paid based on
       3 Delta’s representations and Delta’s intent to gain market share “relate to” Delta’s
                                                               1
       4 rates and are thus preempted under the ADA.
       5                 iii.    Plaintiff’s Claims Relate to Delta’s Services.
       6          In addition to relating to Delta’s rates, Plaintiff’s claims are preempted
       7 because they also relate to Delta’s “services.” For purposes of ADA preemption,
       8 “services” refers to “the prices, schedules, origins and destinations of the point-to-
       9 point transportation of passengers, cargo, or mail.” See Nat’l Fed’n of the Blind v.
      10 United Airlines Inc., 813 F.3d 718, 726 (9th Cir. 2016) (quoting Charas v. Trans
      11 World Airlines, Inc., 160 F.3d 1259, 1261 (9th Cir. 1998)). Congress used “service”
      12 in the ADA’s preemption provision “in the public utility sense—i.e., the provision
      13 of air transportation to and from various markets at various times.” Id. (quoting
      14 Charas, 160 F.3d at 1261). In short, the term “service” is “focused on ‘essential
      15 details of the carriage itself.’” Id. (quoting Rowe, 552 U.S. at 373).
      16          Here, Plaintiff expressly alleges that, through its advertisements, “Delta’s
      17 services are rebranded as more ecologically conscious than they actually are in fact.”
      18 Id. ¶ 26 (emphasis added). Plaintiff contends these representations were made with
      19 the intent to encourage passengers to use Delta’s air travel services. Id. ¶ 45; see also
      20 id. ¶ 9 (alleging that Delta’s misrepresentations caused her to “purchase[] Delta
      21 flights due to her belief that by flying Delta she engaged in more ecologically
      22 conscious air travel”). These allegations fundamentally implicate Delta’s key
      23 service, i.e., the manner by which Delta transports passengers from one point to
      24
      25 1 The Supreme Court has emphasized that the ADA does not leave consumers without protection.
           “The ADA is based on the view that the best interests of airline passengers are most effectively
      26 promoted, in the main, by allowing the free market to operate.” Ginsberg, 572 U.S. at 288. As
      27 such, “[i]f an airline acquires a reputation for [misleading environmentally conscious customers],
         [these] customers can avoid that [airline] and may be able to enroll in a more favorable rival
      28 [airline].” Id.
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       1 another. See Charas, 160 F.3d at 1266 (explaining that Congress used services to
       2 mean “the provision of air transportation to and from various markets at various
       3 times”). And Delta’s representations regarding its carbon neutrality relate to the
       4 “essential details” of how passengers are transported, namely, whether that transport
       5 is carbon neutral. See Nat’l Fed’n of the Blind, 813 F.3d at 727. These allegations
       6 fall within the broad pre-emptive purpose of the ADA because they directly relate
       7 to “the furnishing of air transportation services.” Wolens, 513 U.S. at 228; see also
       8 McGarry, 2019 WL 2558199, at *4 (“[T]he broad scope of ADA preemption sweeps
       9 claims as broad as those related to state consumer protection statutes . . . and
      10 advertising guidelines because they [] all have a connection to the core part of the
      11 ‘services’ that an airline provides.”). Delta offered to provide services—i.e., air
      12 transportation—in a carbon neutral way, and Plaintiff alleges that this formed the
      13 basis for her decision to purchase a ticket for this service. Plaintiff’s claims thus seek
      14 to regulate the way in which Delta advertises—and provides—air transportation to
      15 its passengers, which is preempted by the ADA.
      16                iv.   Plaintiff’s Allegations Reinforce that her Claims Relate to
                              Delta’s Services.
      17
      18         Plaintiff’s allegation that Delta’s representations regarding carbon neutrality

      19 “were part of the basis of the bargain” further reinforces the conclusion that her
      20 claims are preempted. See FAC ¶¶ 15, 16. Courts have interpreted services under the
      21 ADA to “generally represent a bargained-for or anticipated provision of labor from
      22 one party to another.” Stone v. Cont’l Airlines, Inc., 905 F. Supp. 823, 825 n.2 (D.
      23 Haw. 1995); see also Lyn-Lea Travel Corp. v. Am. Airlines, Inc. 283 F.3d 282, 289,
      24 n.11 (5th Cir. 2002) (“[P]reemption extends to all of the economic factors that go
      25 into the provision of the quid pro quo for [a] passenger’s fare.”). Plaintiff concedes
      26 that carbon emissions fall within the “range of services” that are “part of the
      27 customer’s experience,” “considered in evaluating the quality” of a customer’s
      28 flight, and over which “airlines compete.” Branche v. Airtran Airways, Inc., 342
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       1 F.3d 1248, 1258 (11th Cir. 2003). This makes sense. To attract customers, airlines
       2 must offer not only the best airfare prices, but must also offer other services related
       3 to air travel to enhance the quality of their customers’ experience.
       4         As Plaintiff makes clear in her FAC, carbon neutrality is one of those services.
       5 According to Plaintiff, airlines compete to attract environmentally conscious
       6 travelers by engaging in environmentally friendly practices. See FAC ¶¶ 25-26. To
       7 allow a patchwork of state regulations to regulate this competition would be contrary
       8 to the purpose of the ADA. See Fernald v. Sw. Airlines Co., No. 11CV0453 AJB
       9 (POR), 2011 WL 13254382, at *2, *4 (S.D. Cal. Sept. 28, 2011) (finding that failure
      10 to preempt claims related to aircraft seating program would “frustrate the goal of
      11 economic deregulation by interfering with the forces of competition,” since airlines
      12 “routinely compete with regard to prices and priority seating.”); see also Tanen v.
      13 Sw. Airlines Co., 187 Cal. App. 4th 1156, 1170-71 (Cal. Ct. App. 2010) (upholding
      14 preemption because “[a]irlines do compete with one another with regard to the
      15 various services they provide, and passengers may well choose to purchase a travel
      16 certificate on one airline rather than another based on the certificate’s expiration date
      17 or lack thereof”). Thus, Plaintiff’s allegation that Delta’s representations were part
      18 of her bargained-for exchange with Delta confirm that her claims relate to
      19 “services.”
      20         Similarly, Plaintiff’s assertion of a CLRA claim, and a UCL claim predicated
      21 on a CLRA violation, further reinforces the applicability of the ADA’s preemptive
      22 bar. To prevail on her CLRA claim, Plaintiff must show “unfair methods of
      23 competition and unfair or deceptive acts or practices . . . undertaken . . . in a
      24 transaction intended to result or that results in the sale or lease of goods or services
      25 to any consumer.” Cal. Civ. Code § 1770(a). Obviously, Delta’s carbon neutrality is
      26 not a “good,” so Plaintiff must be proceeding on the theory that the CLRA applies
      27 to a “service” Delta provided to her. See Cal. Civ. Code § 1761(a) (defining “Goods”
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       1 to mean certain “tangible chattels”). Therefore, at minimum, Plaintiff’s CLRA claim
       2 and her UCL claim (which relies on an underlying violation of the CLRA) must
       3 relate to Delta’s “services.” If not, her CLRA claim should be dismissed because she
       4 has not alleged a “service” covered by that law.
       5         B.     Plaintiff’s FAL and UCL Claims Fail Because Plaintiff Alleges an
                        Adequate Legal Remedy.
       6
                 Even assuming ADA preemption did not apply—which it plainly does—
       7
           Plaintiff’s FAL and UCL claims, which are equitable in nature, should be dismissed
       8
           for the independent reason that Plaintiff has a legal remedy—a CLRA claim for
       9
           money damages. See Sonner v. Premier Nutrition Corp., 971 F.3d 834, 845 (9th Cir.
      10
           2020) (affirming dismissal of UCL claim where the plaintiff “fail[ed] to demonstrate
      11
           that she lacks an adequate legal remedy”); see also Munning v. Gap, Inc., 238 F.
      12
           Supp. 3d 1195, 1203 (N.D. Cal. 2017) (The “UCL and FAL provide for only
      13
           equitable relief.”). Under Sonner, Plaintiff’s equitable claims for restitution and
      14
           injunctive relief under the UCL and FAL should be dismissed, because they are
      15
           duplicative of her legal claims and there is no allegation (nor can there be) that the
      16
           legal remedies available to Plaintiff are inadequate. See, e.g., Gibson v. Jaguar Land
      17
           Rover N. Am., LLC, No. CV2000769CJCGJSX, 2020 WL 5492990, at *3 (C.D. Cal.
      18
           Sept. 9, 2020) (“[C]ourts generally require plaintiffs seeking equitable relief to
      19
           allege some facts suggesting that damages are insufficient to make them whole.”).
      20
                 In Sonner, the Ninth Circuit explained that “[a] federal court must apply
      21
           traditional equitable principles before awarding restitution,” including the principle
      22
           that equitable relief is unavailable when a plaintiff has an adequate remedy at law.
      23
           See Sonner, 971 F.3d at 841. Following Sonner, courts in the Ninth Circuit routinely
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           dismiss equitable claims under the UCL and FAL due to a failure to show that there
      25
           are inadequate legal remedies. See Rodriguez v. Just Brands USA, Inc., No. 2:20-cv-
      26
           04829-ODW, 2021 WL 1985031, at *8 (C.D. Cal. May 18, 2021) (dismissing claims
      27
           for restitution with prejudice post-Sonner “[b]ecause Plaintiffs’ CLRA, UCL, and
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       1 FAL claims are all based on the same factual predicates”) (citations omitted); Hardy
       2 v. Mitsubishi Motors N. Am., Inc., No. 821CV01983MEMFKESX, 2023 WL
       3 4067408, at *16 (C.D. Cal. Mar. 30, 2023) (dismissing all requests for equitable
       4 relief because “Plaintiffs fail to allege that they maintain inadequate remedies at
       5 law”); see also In re Macbook Keyboard Litig., No. 5:18-cv-02813-EJD, 2020 WL
       6 6047253, at *3 (N.D. Cal. Oct. 13, 2020) (dismissing demand for injunctive relief
       7 and equitable claims with prejudice based on Sonner).
       8        Here, the same factual predicate that forms the basis for Plaintiff’s CLRA
       9 claims—i.e., the alleged misrepresentations regarding Delta’s carbon neutrality—
      10 also forms the basis for Plaintiff’s FAL and UCL claims, which sound in equity.
      11 Compare FAC ¶¶ 82-87, with id. ¶¶ 88-96, 97-109. A straightforward application of
      12 Sonner forecloses this attempt to obtain equitable relief that is duplicative of
      13 Plaintiff’s legal claims.
      14        Moreover, the FAC alleges repeatedly that Plaintiff and the putative class
      15 members are entitled to a number of legal remedies, including actual, statutory, and
      16 punitive damages. See, e.g., id., Prayer for Relief, § B (seeking “[a]n award of
      17 compensatory damages, including statutory damages where available, to Plaintiff
      18 and the Class Members against Defendant for all damages sustained as a result of
      19 Defendant’s wrongdoing”); id. ¶ 86 (seeking “on behalf of each Class Member
      20 actual damages of at least $1,000, punitive damages, an award of $5,000 for each
      21 Class Member who is a disabled person or senior citizen.”); see also id. ¶¶ 19, 78.
      22 Plaintiff does not (and cannot) offer any specific factual allegations demonstrating
      23 why the damages she seeks would be inadequate. Teresa Adams v. Cole Haan, LLC,
      24 8:20-CV-00913, 2020 WL 5648605, at *2 (C.D. Cal. Sept. 3, 2020) (“The clear rule
      25 in Sonner that plaintiffs must plead the inadequacy of legal remedies before
      26 requesting equitable relief therefore applies.”); Ibarra v. Pharmagenics LLC, -- F.
      27 Supp. 3d --, 2023 WL 2445397, at *4 (C.D. Cal. Mar. 8, 2023) (“Indeed, [plaintiff’s]
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       1 claim for damages under the CLRA, which is predicated on the same conduct as
       2 [plaintiff’s] claims for equitable relief, undermines any potential inadequacy of legal
       3 remedies.”).
       4        While Plaintiff attempts to plead her equitable claims in the alternative to her
       5 claim for damages under the CLRA, see FAC ¶¶ 95, 107, that is insufficient to satisfy
       6 Sonner. As numerous courts have explained, “[t]he issue is not whether a pleading
       7 may seek distinct forms of relief in the alternative, but rather whether a prayer for
       8 equitable relief states a claim if the pleading does not demonstrate the inadequacy of
       9 a legal remedy. On that point, Sonner holds that it does not.” Shay v. Apple Inc., No.
      10 20CV1629-GPC(BLM), 2021 WL 1733385, at *5 (S.D. Cal. May 3, 2021);
      11 Clevenger v. Welch Foods Inc., No. SACV2001859CJCJDEX, 2022 WL 18228288,
      12 at *4 (C.D. Cal. Dec. 14, 2022) (collecting cases and emphasizing that “this
      13 argument has been explicitly rejected by numerous courts post-Sonner”). In short,
      14 where, as here, “the claims pleaded by a plaintiff may entitle her to an adequate
      15 remedy at law, equitable relief is unavailable.” Huynh v. Quora, Inc., 508 F. Supp.
      16 3d 633, 662 (N.D. Cal. 2020); see also Munning, 238 F. Supp. 3d at 1203 (“It matters
      17 not that a plaintiff may have no remedy if her other claims fail.” (citing Rhynes v.
      18 Stryker Corp., No. 10-5619 SC, 2011 WL 2149095, at *4 (N.D. Cal. May 31,
      19 2011))).
      20        Plaintiff accordingly cannot circumvent Sonner by attempting to plead her
      21 equitable claims in the alternative, and Sonner and subsequent precedent compel
      22 dismissal of Plaintiff’s equitable claims. See Absolute USA, Inc. v. Harman Pro.,
      23 Inc., No. 221CV06410MEMFMAAX, 2023 WL 2064048, at *15 (C.D. Cal. Feb.
      24 14, 2023) (dismissing without leave to amend plaintiffs’ UCL claim because they
      25 had an adequate remedy at law and further amendment would be futile); Williams v.
      26 Apple, Inc., No. 19-cv-04700-LHK, 2020 WL 6743911, at *9-11 (N.D. Cal. Nov.
      27 17, 2020) (dismissing UCL claim with prejudice, relying on Sonner); In re Macbook
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       1 Keyboard Litig., 2020 WL 6047253, at *4 (dismissing UCL claim and other
       2 demands for equitable relief with prejudice based on Sonner); Gibson v. Jaguar
       3 Land Rover N. Am., LLC, No. 20-cv-00769-CJC, 2020 WL 5492990, at *3 (C.D.
       4 Cal. Sept. 9, 2020) (dismissing UCL claim with prejudice based on Sonner); Banks
       5 v. R.C. Bigelow, Inc., No. 20-cv-6208 DDP, 2021 WL 1734779, at *6 (C.D. Cal.
       6 May 3, 2021) (dismissing UCL and unjust enrichment without leave to amend).
       7         C.    Plaintiff’s CLRA Claims Must be Narrowed
       8         Next, even assuming that Plaintiff’s CLRA claim could survive ADA
       9 preemption, this claim must be narrowed. The CLRA only applies to a specific list
      10 of proscribed conduct enumerated by statute. See Cal. Civ. Code § 1770(a)(1)-(28).
      11 Plaintiff alleges that Delta violated § 1770(a)(2), § 1770(a)(3), § 1770(a)(5), and
      12 § 1770(a)(9) of the CLRA. See FAC ¶ 84. But only sections (a)(5) and (a)(9) are
      13 even arguably applicable here. Subsection (a)(2) proscribes “[m]isrepresenting the
      14 source, sponsorship, approval, or certification of goods or services,” and subsection
      15 (a)(3) proscribes “[m]isrepresenting the affiliation, connection, or association with,
      16 or certification by, another.” But Plaintiff does not allege that Delta represented its
      17 services as having the approval of another entity or that Delta falsely signified that
      18 it had a particular endorsement or sponsorship. Therefore, in the event Plaintiff’s
      19 CLRA claim is permitted to proceed past dismissal, Plaintiff’s claims for violation
      20 of subsection (a)(2) and (a)(3) must be dismissed as inapplicable.
      21         D.    Plaintiff Cannot Seek Injunctive Relief for her Statutory Claims.
      22         Finally, Plaintiff’s request for future injunctive relief should also be dismissed
      23 because Plaintiff lacks standing to pursue this remedy. To demonstrate Article III
      24 standing for future injunctive relief, “a plaintiff must show (1) [she] has suffered an
      25 ‘injury in fact’ that is (a) concrete and particularized and (b) actual or imminent, not
      26 conjectural or hypothetical; (2) the injury is fairly traceable to the challenged action
      27 of the defendant; and (3) it is likely, as opposed to merely speculative, that the injury
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       1 will be redressed by a favorable decision.” Hardy v. Mitsubishi Motors N. Am., Inc.,
       2 No. 821CV01983MEMFKESX, 2023 WL 4067408, at *4 (C.D. Cal. Mar. 30, 2023).
       3 “Where standing is premised entirely on the threat of repeated injury, a plaintiff must
       4 show a sufficient likelihood that [s]he will again be wronged in a similar way.”
       5 Davidson v. Kimberly-Clark Corp., 889 F.3d 956, 967 (9th Cir. 2018) (quotations
       6 omitted). It is black letter law that Plaintiff’s allegations of “past wrongs” are
       7 “insufficient by themselves to grant standing.” Id.
       8        Here, however, Plaintiff’s allegations of harm solely relate to flights she
       9 purchased in the past. See FAC ¶¶ 13-16. Following Davidson, courts have made it
      10 clear that “a plaintiff’s intention to purchase a product in the future is necessary to
      11 establish Article III standing for injunctive relief.” See e.g., Linton v. Axcess Fin.
      12 Servs., Inc., No. 23-CV-01832-CRB, 2023 WL 4297568, at *4 (N.D. Cal. June 30,
      13 2023). In her FAC, Plaintiff expresses no interest in or concrete intent to purchase a
      14 flight from Delta in the future. Instead, Plaintiff’s only allegations of prospective
      15 injury are that she and the other putative class members “will continue to suffer
      16 harm” and that Delta “will continue to cause injury in fact to the general public.”
      17 FAC ¶¶ 85, 95, 109. Such vague and conclusory allegations of injury are insufficient
      18 to confer the Article III standing required to proceed with injunctive relief. See In re
      19 Coca-Cola Prod. Mktg. & Sales Pracs. Litig. (No. II), No. 20-15742, 2021 WL
      20 3878654, at *2 (9th Cir. Aug. 31, 2021) (“Without any stated desire to purchase
      21 Coke in the future, [Plaintiffs] do not have standing to pursue injunctive relief.”);
      22 see also Carney v. Adams, 141 S. Ct. 493, 502 (2020) (explaining that “an injury in
      23 fact requires an intent that is concrete”).
      24        In addition, Plaintiff fails to allege that Delta’s advertisement of its flights as
      25 carbon neutral is ongoing. Even if a plaintiff can show she was previously injured,
      26 she still must show a real or immediate threat that she will again be wronged in a
      27 similar way. See Phillips v. United States, No. 219CV06338SVWJEM, 2021 WL
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                      DEFENDANT DELTA AIR LINES, INC.’S MOTION TO DISMISS
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       1 2587961, at *5 (C.D. Cal. June 22, 2021); Munns v. Kerry, 782 F.3d 402, 411 (9th
       2 Cir. 2015) (“Past exposure to harmful or illegal conduct does not necessarily confer
       3 standing to seek injunctive relief if the plaintiff does not continue to suffer adverse
       4 effects.”). The FAC does not make any allegation that Delta is currently advertising
       5 its flights as carbon neutral. At most, Plaintiff asserts that Delta’s alleged
       6 misrepresentations will “continue to violate the CLRA,” and that Delta will
       7 “continue to violate the laws of California” and “continue[] to engage unlawful,
       8 unfair, and fraudulent trade practices in California.” See FAC ¶¶ 83, 92, 98. ¶ 98.
       9 But these are nothing more than “labels and conclusions,” Twombly, 550 U.S. at 555,
      10 that are plainly insufficient to establish the imminent threat of future injury required
      11 by Article III. See Vitiosus v. Alani Nutrition, LLC, No. 21-CV-2048-MMA (MDD),
      12 2022 WL 2441303, at *7 (S.D. Cal. July 5, 2022) (threadbare recital that plaintiffs
      13 “will continue to mislead in the future” was insufficient to survive dismissal).
      14          In sum, Plaintiff fails to allege any concrete intent to purchase a Delta flight
      15 in the future or the likelihood of future or ongoing violation by Delta related to its
      16 marketing. Because Plaintiff does not plead any imminent threat of future injury to
      17 satisfy Article III standing, Plaintiff’s claims for future injunctive relief under the
      18 UCL, CLRA, and FAL must be dismissed. See Mason v. Nature’s Innovation, Inc.,
      19 No. 12-cv-3019, 2013 WL 1969957, at *5 (S.D. Cal. May 13, 2013) (“[I]t is not
      20 within the Court's authority to carve out an exception to Article III’s standing
                                                                                                            2
      21 requirements to further the purpose of California consumer protection laws.”).
      22
      23 2
             Moreover, even if Plaintiff had standing to pursue injunctive relief, these claims would fail for
      24   the same reasons set forth above in section III.B supra. This Court recently made clear that
           Sonner’s holding and reasoning “is not limited to claims for past harms as opposed to future
      25   harms.” Hardy, 2023 WL 4067408, at *16; see also Goldstein v. Gen. Motors LLC, No. 3:19-CV-
           1778, 2022 WL 484995, at *5 (S.D. Cal. Feb. 16, 2022) (“Plaintiffs similarly contend that Sonner
      26   does not apply to injunctive relief claims. The Court disagrees.” (internal citations omitted)).
      27   Consequently, the requirement that plaintiffs must plead the inadequacy of legal remedies applies
           to both Plaintiff’s claim for restitution and injunctive relief and warrants dismissal “as it relates to
      28   all [] requests for equitable relief.” Hardy, 2023 WL 4067408, at *16.
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                          DEFENDANT DELTA AIR LINES, INC.’S MOTION TO DISMISS
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       1                                   CONCLUSION
       2        For the reasons explained above, the Court should dismiss the FAC with
       3 prejudice because all of Plaintiff’s claims are barred by the ADA. Even if her claims
       4 were not legally prohibited, the Court should dismiss her FAL and UCL claims and
       5 all her claims for injunctive relief, leaving only Plaintiff’s CLRA claim for money
       6 damages based on §§ 1770(a)(5) and (a)(9).
       7
       8        RESPECTFULLY SUBMITTED.
       9
      10 DATED: August 18, 2023                 KING & SPALDING LLP
      11                                        By:    /s/ Michael D. Roth
      12                                               Michael D. Roth
                                                       Attorney for Defendant
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                     DEFENDANT DELTA AIR LINES, INC.’S MOTION TO DISMISS
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      1                        CERTIFICATE OF COMPLIANCE
      2        The undersigned, counsel of record for Defendant, certifies that this
      3 Memorandum of Points and Authorities contains 6,392 words, which complies with
      4 the word limit of L.R. 11-6.1, and is under 25 pages, which complies with the page
      5 limit set by the Court’s Civil Standing Order.
      6
      7 Dated: August 18, 2023.                KING & SPALDING LLP
      8
      9                                        By:   /s/Michael D. Roth
                                                     Michael D. Roth
     10                                              Attorney for Defendant
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